Case 2:21-cv-11741-MAG-EAS ECF No. 18, PageID.39 Filed 03/17/22 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


ANNIE HABERLEIN, individually
and on behalf of all other similarly                Case No. 21-cv-11741
situated individuals,                               Hon. Mark A. Goldsmith
      Plaintiffs,
v.
UNITED WHOLESALE
MORTGAGE, LLC,

      Defendant.
__________________________________________________________________
     STIPULATED ORDER OF DISMISSAL WITHOUT PREJUDICE

      It is hereby stipulated, by and between counsel for Plaintiff Annie Haberlein

and Defendant United Wholesale Mortgage, LLC, that all the claims set forth by

Plaintiff against Defendant in the above-captioned action are dismissed without

prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and without interest, costs or

attorneys’ fees to any Party

      IT IS HEREBY ORDERED, that the above-captioned action is DISMISSED

WITHOUT PREJUDICE and without interest, costs or attorneys’ fees to any Party.

      This order disposes of all claims and closes the case.

      IT IS SO ORDERED.

Dated: March 17, 2022                        s/Mark A. Goldsmith
      Detroit, Michigan                      MARK A. GOLDSMITH
                                             United States District Judge
Case 2:21-cv-11741-MAG-EAS ECF No. 18, PageID.40 Filed 03/17/22 Page 2 of 2




Stipulated to by:

/s/ Noah S. Hurwitz               /s/ Stephanie L. Sweitzer
Noah S. Hurwitz                   Stephanie L. Sweitzer (P66376)
Hurwitz Law PLLC                  Morgan Lewis & Bockisus
Attorney for Plaintiff            Attorney for Defendant
noah@hurwitzlaw.com               Stephanie.Sweitzer@morganlewis.com

Dated: March 15, 2022




                                    2
